                                    UNITED STATES DISTRICT COURT
                                   EASTERNDocument
                  Case 2:07-cr-00248-WBS    DISTRICT OF
                                                     140CALIFORNIA
                                                          Filed 08/23/07 Page 1 of 2

UNITED STATES OF AMERICA,                     )
                                              )                   Case No. CR-S-07-0248 WBS
                    Plaintiff,                )
             v.                               )
                                              )
SOPHIA SANCHEZ, et al.,                       )
                                              )
                    Defendants.               )
_____________________________________________ )

                               APPLICATION FOR WRIT OF HABEAS CORPUS
        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee:                Sophia SANCHEZ, CDC No. X25664
Detained at (custodian):         Reception Center Records - ATTN: Out to Court Desk
                                 P.O. Box 99
                                 Chowchilla, California 93610
                                 Chowchilla, California 93610

Detainee is:               a.)   () charged in this district by:  (X) Indictment () Information () Complaint
                                    charging detainee with: conspiracy to distribute methamphetamine, cocaine, etc.
                 or        b.)   () a witness not otherwise available by ordinary process of the Court

Detainee will:             a.)   () return to the custody of detaining facility upon termination of proceedings
                 or        b.)   (X) be retained in federal custody until final disposition of federal charges, as a sentence
                                     is currently being served at the detaining facility

       Appearance is necessary in the Eastern District of California to face prosecution on federal drug trafficking
charges in Case No. CR-S-07-0248 WBS.

                                 Signature:                       /s/ Jason Hitt
                                 Printed Name & Phone No:         Jason Hitt 916-554-2751
                                 Attorney of Record for:          United States of America

                                             WRIT OF HABEAS CORPUS
                           (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal’s Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: August 23, 2007
______________________________________________________________________________________________
Detainee:                      Sophia SANCHEZ,Document
                  Case 2:07-cr-00248-WBS           CDC No. X25664
                                                            140 Filed 08/23/07 Page 2 ofMale
                                                                                         2   X Female
Facility Address:              VALLEY STATE PRISON FOR WOMEN
                               Reception Center Records - ATTN: Out to Court Desk
                               P.O. Box 99
                               Chowchilla, California 93610
Facility Phone:                559-665-6100 ext. 6045
Currently Incarcerated on Drug Trafficking Conviction
_________________________________________________________________________________________________
                                             RETURN OF SERVICE

Executed on   ____________________________              By: ___________________________________________________
